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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §            CASE NO. 1:15-CR-115-1
                                                 §
                                                 §
BRANDON CHRISTOPHER PIERRE                       §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEAS
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On December 1, 2015, this case came before the undersigned United States Magistrate Judge

for entry of a guilty plea by the Defendant, Brandon Christopher Pierre, to Count One of the

Indictment. Count One alleges that on or about March 27, 2015, the exact date being unknown to

the Grand Jury, and continuing until on or about July 4, 2015, in the Easter District of Texas and

elsewhere, the Defendant, Brandon Christopher Pierre, who was subject to court order MD-5876-13

issued by the Court of Common Pleas of Lehigh County, Pennsylvania on January 22, 2013 and

remaining in effect until January 22, 2017, and issued after a hearing of which he received actual

notice, and at which he had an opportunity to participate, restraining him from harassing, stalking,

or threatening an intimate partner and a child of an intimate partner, that by its terms explicitly

prohibited the use, attempted use or threatened use of physical force against such intimate partner
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and a child of such intimate partner that would reasonably be expected to cause bodily injury, did

knowingly possess in and affecting interstate commerce, a firearm, that is a .223 caliber rifle, model

Tavor Sar, manufactured by Israel Weapon Industries and bearing serial number T003731, in

violation of 18 U.S.C. § 922(g)(8).

         The Defendant entered a plea of guilty to Count One of the Indictment into the record at the

hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11, the undersigned finds:

         a.       That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

         b.       That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that he understood the terms of the plea agreement, and acknowledged that it was

his signature on the plea agreement. To the extent the plea agreement contains recommendations

and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the Defendant that he has

no right to withdraw the plea if the Court does not follow the particular recommendations or

requests. To the extent that any or all of the terms of the plea agreement are pursuant to Rule

11(c)(1)(A) or (C), the undersigned advised the Defendant that he will have the opportunity to

withdraw his plea of guilty should the Court not follow those particular terms of the plea agreement.1

         1
          “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant that
the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.

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         c.        That the Defendant is fully competent and capable of entering an informed plea, that

the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

did not result from force, threats or promises (other than the promises set forth in the plea

agreement). See FED. R. CRIM. P. 11(b)(2).

         d.        That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes that

his conduct falls within the definition of the crime charged under 18 U.S.C. § 922(g)(8).

                                          STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

one and the same person charged in the Indictment and that the events described in the Indictment

occurred in the Eastern District of Texas. The Government would also have proven, beyond a

reasonable doubt, each and every essential element of the offense as alleged in Count One of the

Indictment through the testimony of witnesses, including expert witnesses, and admissible exhibits.

In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

in detail in the factual basis and stipulation, filed in support of the plea agreement.


(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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       The Defendant, Brandon Christopher Pierre, agreed with and stipulated to the evidence

presented in the factual basis. Counsel for the Defendant and the Government attested to the

Defendant’s competency and capability to enter an informed plea of guilty. The Defendant agreed

with the evidence presented by the Government and personally testified that he was entering his

guilty plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the Indictment. It is also recommended that the

District Court defer acceptance of the plea agreement until after review of the presentence report.

Accordingly, it is further recommended that Brandon Christopher Pierre be finally adjudged guilty

of the charged offense under Title 18, United States Code, Section 922(g)(8).

       If the plea agreement is rejected and the Defendant still persists in the guilty plea, the

disposition of the case may be less favorable to the Defendant than that contemplated by the plea

agreement. The Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. The Defendant has the right to allocute before the District Court

before imposition of sentence.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

identify those findings or recommendations to which the party objects, and (3) be served and filed

within fourteen (14) days after being served with a copy of this report, and (4) no more than eight


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(8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule

CV-72(c). A party who objects to this report is entitled to a de novo determination by the United

States District Judge of those proposed findings and recommendations to which a specific objection

is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

(5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).



      SIGNED this 3rd day of December, 2015.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge




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